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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Vv.
Criminal No. 21-00060 (CKK)
JESUS D. RIVERA,
Defendant.

 

 

ORDER
(November 15, 2022)

Defendant Jesus D. Rivera was sentenced by this Court on November 3, 2022 to eight (8)
months of incarceration followed by twelve (12) months of supervised release. See Judgment,
ECF No. 82. On November 8, 2022, Defendant filed a notice of his intention to appeal his sentence
and his consolidated [80] Motion to Proceed in Forma Pauperis and for Appointment of Counsel
on appeal. On November 10, 2022, Defendant’s appeal was transmitted to the United States Court
of Appeals for the District of Columbia (“D.C. Circuit”), which indicated that the “fee remains to
be paid and another notice will be transmitted when the fee has been paid in the District Court or
motion to proceed In Forma Pauperis has been decided[.]” See Transmission of Notice of Appeal,
ECF No. 81. Accordingly, upon consideration of Defendant’s [80] Motion to Proceed In Forma
Pauperis and for Appointment of Counsel, as well as his [80-2] Financial Affidavit, it is this 15th
day of November, 2022, hereby

ORDERED that Defendant’s [80] Motion to Proceed In Forma Pauperis is GRANTED,
and it is further

ORDERED that Defendant’s [80] Motion for Appointment of Counsel is transferred to the
D.C. Circuit for its consideration as part of Defendant’s appeal. A copy of this Order shall be
provided to the D.C. Circuit Clerk’s Office.

IT IS SO ORDERED

Cp. VN, Key

COLLEEN KOLLAR-KOTELLY
UNITED STATES DISTICT JUDGE
